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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                     Plaintiff(s),               CASE NUMBER: 03-81083
                                                 HONORABLE VICTORIA A. ROBERTS
v.

D-1 JEREMY MACFARLANE,
D-2 MARTIN HERMIZ,
D-3 PETER GIRGIS,
D-4 MOMTAZ TAWFIK,
D-5 HANSEE SESI

                Defendant(s).
________________________________/

                ORDER ADOPTING REPORT AND RECOMMENDATION
                         OF THE MAGISTRATE JUDGE

       On November 22, 2006, Magistrate Judge Paul Komives submitted Report and

Recommendations [Doc. 52 & 53] recommending that the Court deny Defendant Peter

Girgis’ Motion to Dismiss Count I: Conspiracy [Doc. 37] and that it deny Defendant

Hansee Sesi’s Motion to Dismiss [Doc. 34].

       Because the Court has not received objections from any party within the time frame

provided for in 28 U.S.C. § 636(b)(1) and E.D. Mich. LR 72.1(d)(3), the Court will adopt the

Magistrate Judge’s Report and Recommendations. The Court, therefore, DENIES

Defendants Girgis and Sesi’s respective motions.

       IT IS SO ORDERED.


                                          S/Victoria A. Roberts
                                          Victoria A. Roberts
                                          United States District Judge
Dated: December 14, 2006
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The undersigned certifies that a copy of this
document was served on the attorneys of
record by electronic means or U.S. Mail on
December 14, 2006.

S/Carol A. Pinegar
Deputy Clerk
